Case 1:16-cr-10094-LTS Document 518-5 Filed 10/10/18 Page 1 of 2

The Honorable Leo T. Sorokin
United States District Court

John Joseph Moakley Courthouse
1 Courthouse Way

Boston, MA 02210

RE: Ross MeLetian

My name is Jeff Chisholm, and | live in Hingham with my wife and three children. We moved to Hingham
in 2010 and have grown to know Ross and Lisa McLellan and their four children; ee
i . Our children attend school together and have been on several sports teams together. I’ve also
had the opportunity to coach hockey with Ross and serve alongside him on the Hingham Youth Hockey
Board. We have spent countless hours together simply cheering our children on during both their
school and sporting events, All of this has led to a wonderful friendship between cur famities.

| consider Ross to be one of my closest friends in Hingham. It is hard not to like Ross as he has so many
traits that make him such a great friend. First and foremost, you can always count on Ross. They often
say it takes a village to raise kids these days and if this is the case then we are certainly blessed to have
Ross McLellan part of our village. 1 can’t even begin to count the number of times he has driven our kids
to practices and games. If asked, he’ would probably tell you that we've done the same, but in all
honesty we haven't even come close to returning all the times he has helped out our family. Ross truly is
that friend who is always willing to help others. He is that friend that shows up at your door to take you
to dinner knowing your family is not around to help you celebrate your birthday. He is that friend that
would drop his plans or réarrange his schedule to he!p you out again and again never expecting anything
in return,

Ross is not only a friend to me, but also a friend to his entire community. He spends numerous hours
volunteering his time within our community. He has coached several teams for Hingham Youth Hockey
and doesn't hesitate to offer his help with other sports. Coaching with him, | have witnessed first-hand
the positive influence he has had on the kids in our community. He is able to coach in a manner that
promotes both growth, sportsmanship, and respect for their team. | would actually describe him as the
driving force behind Hingham Youth Hockey serving as both equipment manager and league
representative. He has done such an outstanding job managing our equipment that he has rightfully
earned the nickname “USA Equipment Manager of the Year’. This past winter, he even took it upon
himself to organize a Mite House hockey Holiday tournament in Hingham. He wanted the kids to have
something fun to do curing their school vacation. My son still talks about this tournament and how
much fun he had playing in it. Most recently, he assisted in organizing teams for a charity whiffte bail
tournament benefitting Children’s Hospital. This is yet another example of Ross’s selfless devotion to
not only his own children, but the children within our community. | often stand back in awe, wondering
how he has the time for all this and still manage a business and his own four children. He does it with
ease and an enthusiasm that is infectious among the kids. Simply put, Ross Mctelfan is a positive role
model for all our kids.
Case 1:16-cr-10094-LTS Document 518-5 Filed 10/10/18 Page 2 of 2

If sense of humor can be described as a character strength than Ross scores high in this department. He
is that guy you want to be around. | have often heard people describe him as hysterical. However, his
humor is never intended to overtake a crowd. itis the type of humor that makes you laugh even when
this is not his intention. His quick wit is undeniable and he can bring laughter when it is most needed.
The mood is always light when you are around Ross. His sense of humor has never dwindled even in the
midst of his own personal despair.

| could continue to list attributes that 1 admire in Ross as | have only just highlighted a few. | write this
letter on his behalf not only because he is my friend, but also because | know he would do the same for
me. Ross is a selfless friend, an incredible dad, and a devoted husband. While all the volunteering
within our community is certainly admirable, it is the devotion to_his family and friends that | find the
most admirable. i have witnessed his eyes light up when his son saves a goal or when his son
scores that goal. | have witnessed his pride when his twins get up on stage at their elementary schcol to
perform a song or recite a poem at all school meeting. | have seen the smile on his face when his
daughter a runs into his arms after her dance recitals or gymnastic meets eager to receive flowers
from her Dad. | have seen the pride in his eyes when his son BE s<ores the winning goal on the
soccer field. | have also seen the love that his family has for him. The strength, grace, and humility Ross
and Lisa have shown is beyond astounding. They have never once projected their personal problems on
others and in all that they have endured have ensured that their children are protected, loved, and have
never lost the laughter.

Thank you for taxing the time to read this letter and for your consideration.

Sincerely,

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MM

Jeffrey Chisholm

